                Case 1:15-cr-00057-NDF Document 39 Filed 04/24/15 Page 1 of 1
                                                                                           FILED



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF WYOMING                                      10:24 am, 4/24/15
                                                                                    Stephan Harris
                                                                                    Clerk of Court
UNITED STATES OF AMERICA

                                        Plaintiff,

vs.                                                  Case Number: 15-CR-057-NDF

Andrew Lambert Silicani                              Interpreter Needed: No

                                    Defendant.

Type of Case:

                                                CRIMINAL
TAKE NOTICE that a proceeding in this case has been set for the place, date, and time
set forth below:
Place:                                Before:

Joseph C. O'Mahoney Federal Center Nancy D. Freudenthal, Chief United States District Judge
2120 Capitol Avenue                Date and Time:
Cheyenne, WY 82001-3657
Courtroom 1                        April 27, 2015 at 9:00 a.m.



Type of Proceeding:

                                         CHANGE OF PLEA



                                                              Stephan Harris
                                                              Clerk of Court

Dated this 24th day of April, 2015.                           Kellie Erickson
                                                              Deputy Clerk
TO:

U.S. Attorney                                         Defense Counsel
U.S. Marshal                                          Defendant through Counsel
U.S. Probation Office                                 Court Reporter




WY35                                                                                Rev. 3/24/2015
